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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



RADAGAST PET FOOD, INC.,
                                                           Civil No. 03:19-cv-01467-JR
                             Plaintiff(s),
                                                           ORDER OF DISMISSAL
                     v.

CENTINELA FEED, INC., et al.,

                             Defendant(s).

      Based on Plaintiff’s Notice of Dismissal [60],

      IT IS ORDERED that this action is DISMISSED as to all claims against Defendants

Centinela Feed, Inc. and The Lotus Pet Food, Inc. Pending motions, if any, are DENIED AS

MOOT.

      Dated this 11th day of February, 2021.


                                                   by       /s/ Jolie A. Russo
                                                           Jolie A. Russo
                                                           United States Magistrate Judge
